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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Hartman SPE, LLC,                                         Case No. 23-11452 (MFW)

                        Debtor.1                              Hearing Date: April 24, 2024 at 11:30 a.m. (Eastern Time)
                                                              Objection Deadline: April 17, 2024 at 4:00 p.m. (Eastern Time)



NOTICE OF REORGANIZED DEBTOR’S MOTION PURSUANT TO FEDERAL RULE
OF BANKRUPTCY PROCEDURE 9006(b) FOR AN ORDER FURTHER EXTENDING
  THE TIME TO FILE NOTICES OF REMOVAL OF RELATED PROCEEDINGS

        PLEASE TAKE NOTICE that on April 9, the above-captioned debtor, as reorganized (the
“Reorganized Debtor”) filed the Reorganized Debtor’s Motion Pursuant to Federal Rule of
Bankruptcy Procedure 9006(b) for an Order Further Extending the Time to File Notices of
Removal of Related Proceedings (the “Motion”) with the United States Bankruptcy Court for the
District of Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion, must be filed on
or before April 17, 2024, at 4:00 p.m. (Eastern Time) (the “Objection Deadline”) with the
Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that responses, if any, must be served on the following
parties so as to be received on or before the Objection Deadline: (a) Counsel to the Reorganized
Debtor, (i) Chipman Brown Cicero & Cole, LLP, 1313 North Market Street, Suite 5400,
Wilmington,       Delaware     19801     (Attn:    William    E.     Chipman,      Jr.,  Esquire
(chipman@chipmanbrown.com), and Mark D. Olivere, Esquire (olivere@chipmanbrown.com));
and (ii) Katten Muchin Rosenman LLP, 2121 North Pearl Street, Suite 1100, Dallas, Texas 75201
(Attn: John E. Mitchell, Esquire (john.mitchell@katten.com), Michaela C. Crocker, Esquire
(michaela.crocker@katten.com),          and        Yelena       E.        Archiyan,      Esquire
(yelena.archiyan@katten.com)); (b) counsel to the Official Committee of Unsecured Creditors,
Fox Rothschild LLP, 919 North Market Street, Suite 300, Wilmington, Delaware 19899, (Attn:
Michael G. Menkowitz, Esquire (mmenkowitz@foxrothschild.com) and Jesse M. Harris, Esquire
(jesseharris@foxrothschild.com)), and, Fox Rothschild LLP, 2000 Market Street, 20th Floor,
Philadelphia,     Pennsylvania      19103     (Attn:    Stephanie     Slater    Ward,    Esquire
sslater@foxrothschild.com)); and (c) the U.S. Trustee, 844 King Street, Suite 2007, Wilmington,
Delaware 19801 (Attn: John Schanne, Esquire (john.schanne@usdoj.gov)).



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      The Reorganized Debtor in this chapter 11 case, along with the last four digits of its federal tax identification
      number, is Hartman SPE, LLC (7400). The Reorganized Debtor’s principal place of business and service address
      is 2909 Hillcroft, Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the
      United States Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Reorganized
      Debtor’s Claim Agent’s website https://dm.epiq11.com/HartmanSPE.
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       PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on April 24,
2024, at 11:30 a.m. (Eastern Time), before the Honorable Mary F. Walrath, United States
Bankruptcy Judge for the District of Delaware, 824 North Market, Street, 5 th Floor, Wilmington,
Delaware 19801. Only those Responses made in writing and timely filed and served by the
Objection Deadline will be considered by the Court at any such hearing. The Reorganized Debtor
reserves the right to adjourn the hearing with respect to a specific objection set forth herein and
any Response thereto.

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

 Dated: April 9, 2024                             /s/ Mark D. Olivere
        Wilmington, Delaware                      William E. Chipman, Jr. (No. 3818)
                                                  Mark D. Olivere (No. 4291)
                                                  CHIPMAN BROWN CICERO & COLE, LLP
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                                                  Facsimile: (302) 295-0199
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                                                         olivere@chipmanbrown.com

                                                          - and -

                                                  John E. Mitchell (admitted pro hac vice)
                                                  Michaela C. Crocker (admitted pro hac vice)
                                                  Yelena E. Archiyan (admitted pro hac vice)
                                                  KATTEN MUCHIN ROSENMAN LLP
                                                  2121 North Pearl St., Suite 1100
                                                  Dallas, Texas 75201
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                                                  Counsel to the Debtor and Debtor in Possession




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4861-1372-9461, v. 1
